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333 Las Vegas Blvd South By: lRM OF N£VADA
Las Vegas NV 89101 N\~DEPUT¥

 

Re: EEOC File 487-2016-00318 and Filing deadline of July 19th 2016
Dear Clerk:

I am petitioning the U.S. District Court to allow me to file my case with the court for the following
reason.

My Letter to file my case was dated April 20“‘, 2016. I did not receive it until about the 27th of April. I
needed to wait until school got out for summer, May 19"', since I could not afford to miss any days.
And by the 1st of June I discovered that it was misplaced I stopped searching for it on June 27th and
called the EEOC Archives to get a copy of the letter so I could file. I left a message with all the
information name, address, phone, email, file number, etc. I did not get any response until the afternoon
of the 30th of June, in an email indicating that requests for copies cannot be made Via leaving a phone
message. It stated that written messages only. However, there was no indication that written could be in
email or snail mail letter. I sent an email back asking if email will work. On Friday July 1st I sent
another email with all the pertinent information. l waited and then sent another email on July 14“‘. Mth
yet another email on the 14th about getting copies by the next day, july 15“’. I received an email from the
Archives at 3:48pm on the 14th of July, with the PDF file of the documents. I immediately forwarded
the documents to my attorney and asked that he file the case. On the 15‘h I sent him a check. I left
message for him on his phone, I had to leave on Saturday the 16th of July to go to Northern California
to take care of my 88 yo mother until Aug 3rd , for the purpose of giving the care-giver a break. My
attorney knew this and I received a call from him on Monday the 18th and he refused to file my case. He
told me to go to the Court and file it myself. Because he will not take this case. Yet he knew I was in
Northern California which I reminded him in the conversation. I did not care for his demeanor on the
phone and it was not appropriate for an attorney to talk to his client that way. On July 19th I called the
Clerk's Office to ask about Efiling my case. I talked to Justin. He told me only attorneys were easily
able to efile. Yet he was able to give me some information and I ask him if I could petition the Court to
allow me to file even though the deadline to file has expired. He gave me the address of the court to
send this petition.

Sincerely,

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Leo B Marchetti

PO Box 6042

Pahrump, NV 89041-6042
leom702 mail.com
775-990-3379

 

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